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U.S. Department of Justice

Matthew M. Graves
United States Attorney

 

District af Columbia

 

Patrick Henry Buttding
601 D St, NE
Nashington, D.C, 20530

August 25, 2022

VIA E-MAIL

Samuel C. Moore

Attorney at Law

Law Office of Samuel C. Moore, PLLC
526 King Street, Suite 506

Alexandria, VA 22314

703.535,7809 (office)

571.223.5234 (fax)

https://semoorelaw.com

Re: United States vy, Andrew A. Hernandez
Case No. 21-cr-455 (CKK)

Dear Mr. Moore

This letter sets forth the full and complete plea offer to your client, Andrew Alan
Hernandez (hereinafter referred to as “your client” or “defendant”), from the Office of the United
States Attorney for the District of Columbia (hereinafter also referred to as “the Government” or
“this Office”), This plea offer expires on September 21, 2022. If your client accepts the terms
and conditions of this offer, please have your client execute this document in the space provided
below. Upon receipt of the executed document, this letter will become the Plea Agreement
(hereinafter referred to as “this Agreement”), The terms of the offer are as follows:

1. Charges and Statutory Penalties

Your client agrees to plead guilty to Count One in the Indictment, charging your client
with aiding and abetting obstruction of an official proceeding, in violation of 18 U.S.C. §§
1512(c)(2) and 2.

Your client understands that a violation of 18 U.S.C, §§ 1512(c)(2) and 2 carries
a maximum sentence of 20 years of imprisonment; a fine of $250,000, pursuant to 18 U.S.C. §
3571(b)(3); a term of supervised release of not more than 3 years, pursuant to 18 U.S.C, §
3583(b)(2); and an obligation to pay any applicable interest or penaltics on fines and restitution
not timely made.

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In addition, your client agrees to pay a special assessment of $100 per felony conviction
to the Clerk of the United States District Court for the District of Columbia. Your client also
understands that, pursuant to 18 U.S.C. § 3572 and § 5E1.2 of the United States Sentencing
Commission, Guidelines Manual (2021) (hereinafter “Sentencing Guidelines,” “Guidelines,” or
“U.S.S.G.”), the Court may also impose a fine that is sufficient to pay the federal government the
costs of any imprisonment, term of supervised release, and period of probation. Further, your
client understands that, if your client has two or more convictions for a crime of violence or
felony drug offense, your client may be subject to the substantially higher penalties provided for
in the career-offender statutes and provisions of the Sentencing Guidelines.

2. Cooperation with Additional Investigation

Your client agrees to allow law enforcement agents to review any social media accounts
operated by your client for statements and postings in and around January 6, 2021, and conduct
an interview of your client regarding the events in and around January 6, 2021, prior to
sentencing.

3, Factual Stipulations

Your client agrees that the attached “Statement of Offense” fairly and accurately
describes your client’s actions and involvement in the offense to which your client is pleading
guilty. Please have your client sign and return the Statement of Offense as a written proffer of
evidence, along with this Agreement.

4, Additional Charges

In consideration of your client’s guilty plea to the above offense, your client will not be
further prosecuted criminally by this Office for the conduct set forth in the attached Statement of
Offense. The Government will request that the Court dismiss the remaining count(s) of the
Indictment in this case at the time of sentencing. Your client agrees and acknowledges that the
charge(s) to be dismissed at the time of sentencing were based in fact.

After the entry of your client’s plea of guilty to the offense(s) identified in paragraph 1
above, your client will not be charged with any non-violent criminal offense in violation of
Federal or District of Columbia law which was committed within the District of Columbia by
your client prior to the execution of this Agreement and about which this Office was made aware
by your client prior to the execution of this Agreement. However, the United States expressly
reserves its right to prosecute your client for any crime of violence, as defined in 18 U.S.C. § 16
and/or 22 D.C. Code § 4501, if in fact your client committed or commits such a crime of
violence prior to or after the execution of this Agreement.

3, Sentencing Guidelines Analysis

Your client understands that the sentence in this case will be determined by the Court,
pursuant to the factors set forth in 18 U.S.C. § 3553(a), including a consideration of the

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Sentencing Guidelines. Pursuant to Federal Rule of Criminal Procedure 11(c)(1)(B), and to
assist the Court in determining the appropriate sentence, the parties agree to the following:

A, Estimated Offense Level Under the Guidelines

The parties agree that the following Sentencing Guidelines sections apply:

U.S.S.G. § 2J1.2(a) Base Offense Level 14
U.S.S.G, § 2J1.2(b)(2) Specific Offense Characteristics
(Substantial Interference with the Administration of Justice) 3
Total 17

Acceptance of Responsibility

The Government agrecs that a 2-level reduction will be appropriate, pursuant to U.S.S.G.
§ 3E1.1, provided that your client clearly demonstrates acceptance of responsibility, to the
satisfaction of the Government, through your client’s allocution, adherence to every provision of
this Agreement, and conduct between entry of the plea and imposition of sentence. Furthermore,
assuming your client has accepted responsibility as described in the previous sentence, the
Government agrees that an additional 1-level reduction will be appropriate, pursuant to U.S.S.G.,
§ 3E1.1(b), because your client has assisted authorities by providing timely notice of your
client’s intention to enter a plea of guilty, thereby permitting the Government to avoid preparing
for trial and permitting the Court to allocate its resources efficiently.

Nothing in this Agreement limits the right of the Government to seek denial of the
adjustment for acceptance of responsibility, pursuant to U.S.S.G. § 3E1.1, and/or imposition of
an adjustment for obstruction of justice, pursuant to U.S.S.G. § 3C1.1, regardless of any
agreement set forth above, should your client move to withdraw your client’s guilty plea after it
is entered, or should it be determined by the Government that your client has either (a) engaged
in conduct, unknown to the Government at the time of the signing of this Agreement, that
constitutes obstruction of justice, or (b) engaged in additional criminal conduct after signing this

Agreement.
In accordance with the above, the Estimated Offense Level will be at least 14.
B. Estimated Criminal History Category

Based upon the information now available to this Office (including the Pre-Plea Criminal
History Calculation and representations by the defensc), your client has no criminal convictions.

Accordingly, your client is estimated to have 0 criminal history points and your client’s

Criminal History Category is estimated to be I (the “Estimated Criminal History Category”).
Your client acknowledges that after the pre-sentence investigation by the United States Probation

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Office, a different conclusion regarding your client’s criminal convictions and/or criminal history
points may be reached and your client’s criminal history points may increase or decrease.

Cc. Estimated Guidelines Range

Based upon the Estimated Offense Level and the Estimated Criminal History Category
set forth above, your client’s estimated Sentencing Guidelines range is 15 months to 21 months
(the “Estimated Guidelines Range”). In addition, the parties agree that, pursuant to U.S.S.G. §
5E1.2, should the Court impose a fine, at Guidelines level 14, the estimated applicable fine range
is $7,500 to $75,000. Your client reserves the right to ask the Court not to impose any applicable

fine. :

The parties agree that, solely for the purposes of calculating the applicable range under
the Sentencing Guidelines, neither a downward nor upward departure from the Estimated
Guidelines Range set forth above is warranted, except the Government reserves the right to
request an upward departure pursuant to U.S.S.G, § 3A1.4, n. 4. Except as provided for in the
“Reservation of Allocution” section below, the partics also agree that neither party will seek any
offense-level calculation different from the Estimated Offense Level calculated above in
subsection A. However, the parties are free to argue for a Criminal History Category different
from that estimated above in subsection B.

Your client understands and acknowledges that the Estimated Guidelines Range
calculated above is not binding on the Probation Office or the Court. Should the Court or
Probation Office determine that a guidelines range different from the Estimated Guidelines
Range is applicable, that will not be a basis for withdrawal or recission of this Agreement by
either party.

Your client understands and acknowledges that the terms of this section apply only to
conduct that occurred before the execution of this Agreement. Should your client commit any
conduct after the execution of this Agreement that would form the basis for an increase in your
client’s base offense level or justify an upward departure (examples of which include, but are not
limited to, obstruction of justice, failure to appcar for a court proceeding, criminal conduct while
pending sentencing, and false statements to law enforcement agents, the probation officer, or the
Court), the Government is free under this Agreement to seek an increase in the base offense level
based on that post-agreement conduct. .

6. Agreement as to Sentencing Allocution

The parties further agree that a sentence within the Estimated Guidelines Range would
constitute a reasonable sentence in light of all ofthe factors set forth in 18 U.S.C. § 3553(a), should
such a sentence be subject to appellate review notwithstanding the appeal waiver provided below.
However, the parties agree that either party may seek a variance and suggest that the Court consider
a sentence outside of the applicable Guidelines Range, based upon the factors to be considered in
imposing a sentence pursuant to 18 U.S.C. § 3553(a).

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7. Reservation of Allocution

The Government and your client reserve the right to describe fully, both orally and in
writing, to the sentencing judge, the nature and seriousness of your client’s misconduct,
including any misconduct not described in the charges to which your client is pleading guilty, to
inform the presentence report writer and the Court of any relevant facts, to dispute any factual
inaccuracies in the presentence report, and to contest any matters not provided for in this
Agreement. The partics also reserve the right to address the correctness of any Sentencing
Guidelines calculations determined by the presentence report writer or the court, even if those
calculations differ from the Estimated Guidelines Range calculated herein. In the event that the
Court or the presentence report writer considers any Sentencing Guidelines adjustments,
departures, or calculations different from those agreed to and/or estimated in this Agreement, or
contemplates a sentence outside the Guidelines range based upon the general sentencing factors
listed in 18 U.S.C. § 3553(a), the parties reserve the right to answer any related inquirics from
the Court or the presentence report writer and to allocute for a sentence within the Guidelines
range, as ultimately determined by the Court, even if the Guidelines range ultimately determined
by the Court is different from the Estimated Guidelines Range calculated herein.

In addition, if in this Agreement the parties have agreed to recommend or refrain from
recommending to the Court a particular resolution of any sentencing issue, the parties reserve the
right to full allocution in any post-sentence litigation. The parties retain the full right of
allocution in connection with any post-sentence motion which may be filed in this matter and/or
any procecding(s) before the Burcau of Prisons. In addition, your client acknowledges that the
Government is not obligated and does not intend to file any post-sentence downward departure
motion in this case pursuant to Rule 35(b) of the Federal Rules of Criminal Procedure.

8. Court Not Bound by this Agreement or the Sentencing Guidelines

Your client understands that the sentence in this case will be imposed in accordance with
18 U.S.C. § 3553(a), upon consideration of the Sentencing Guidelines. Your client further
understands that the sentence to be imposed is a matter solely within the discretion of the Court.
Your client acknowledges that the Court is not obligated to follow any recommendation of the
Government at the time of sentencing. Your client understands that neither the Government’s
recommendation nor the Sentencing Guidelines are binding on the Court.

Your client acknowledges that your client’s entry of a guilty plea to the charged
offense(s) authorizes the Court to impose any sentence, up to and including the statutory
maximum sentence, which may be greater than the applicable Guidelines range. The
Government cannot, and does not, make any promise or representation as to what sentence your
client will receive. Moreover, it is understood that your client will have no right to withdraw
your client’s plea of guilty should the Court impose a sentence that is outside the Guidelines
range or if the Court does not follow the Government’s sentencing recommendation, The
Government and your client will be bound by this Agreement, regardless of the sentence
imposed by the Court. Any effort by your client to withdraw the guilty plea because of the
length of the sentence shall constitute a breach of this Agreement.

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9, Conditions of Release

Your client acknowledges that, although the Government will not seek a change in your
client’s release conditions pending sentencing, the final decision regarding your client’s bond
status or detention will be made by the Court at the time of your client’s plea of guilty. The
Government may move to change your client’s conditions of release, including requesting that
your client be detained pending sentencing, if your client engages in further criminal conduct
prior to sentencing or if the Government obtains information that it did not possess at the time of
your client’s plea of guilty and that is relevant to whether your client is likely to flee or pose a
danger to any person or the community. Your client also agrees that any violation of your
client’s release conditions or any misconduct by your client may result in the Government filing
an ex parte motion with the Court requesting that a bench warrant be issued for your client’s
arrest and that your client be detained without bond while pending sentencing in your client’s

case.
10, Waivers
A. Venue
Your client waives any challenge to venue in the District of Columbia.
B. Statute of Limitations

Your client agrees that, should the conviction following your client’s plea of guilty
pursuant to this Agreement be vacated for any reason, any prosecution, based on the conduct set
forth in the attached Statement of Offense, that is not time-barred by the applicable statute of
limitations on the date of the signing of this Agreement (including any counts that the
Government has agreed not to prosecute or to dismiss at sentencing pursuant to this
Agreement)may be commenced or reinstated against your client, notwithstanding the expiration
of the statute of limitations between the signing of this Agreement and the commencement or
reinstatement of such prosecution. It is the intent of this Agreement to waive all defenses based
on the statute of limitations with respect to any prosecution of conduct set forth in the attached
Statement of Offense that is not time-barred on the date that this Agreement is signed.

C. Trial Rights

Your client understands that by pleading guilty in this case your client agrees to waive
certain rights afforded by the Constitution of the United States and/or by statute or rule, Your
client agrees to forego the right to any further discovery or disclosures of information not already
provided at the time of the entry of your client’s guilty plea. Your client also agrees to waive,
among other rights, the right to plead not guilty, and the right to a jury trial. If there were a jury
trial, your client would have the right to be represented by counsel, to confront and cross-
examine witnesses against your client, to challenge the admissibility of evidence offered against
your client, to compel witnesses to appear for the purpose of testifying and presenting other
evidence on your client’s behalf, and to choose whether to testify. Ifthere were a jury trial and
your client chose not to testify at that trial, your client would have the right to have the jury

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instructed that your client’s failure to testify could not be held against your client. Your client
would further have the right to have the jury instructed that your client is presumed innocent
until proven guilty, and that the burden would be on the United States to prove your client’s guilt
beyond a reasonable doubt. If your client were found guilty after a trial, your client would have
the right to appeal your client’s conviction. Your client understands that the Fifth Amendment to
the Constitution of the United States protects your client from the use of self-incriminating
statements in a criminal prosecution. By entering a plea of guilty, your client knowingly and
voluntarily waives of gives up your client’s right against self-incrimination.

Your client acknowledges discussing with you Rule 11(f) of the Federal Rules of
Criminal Procedure and Rule 410 of the Federal Rules of Evidence, which ordinarily limit the
admissibility of statements made by a defendant in the course of plea discussions or plea
proceedings if a guilty plea is later withdrawn. Your client knowingly and voluntarily waives the
rights that arise under these rules in the event your client withdraws your client’s guilty plea or

withdraws from this Agreement after signing it.

Your client also agrees to waive all constitutional and statutory rights to a speedy
sentence and agrees that the plea of guilty pursuant to this Agreement will be entered at a time
decided upon by the parties with the concurrence of the Court. Your client understands that the

date for sentencing will be set by the Court.
Dz. Appeal Rights

Your client agrees to waive, insofar as such waiver is permitted by law, the right to
appeal the conviction in this case on any basis, including but not limited to claim(s) that (1) the
statute(s) to which your client is pleading guilty is unconstitutional, and (2) the admitted conduct
does not fall within the scope of the statute(s). Your client understands that federal law,
specifically 18 U.S.C. § 3742, affords defendants the right to appeal their sentences in certain
circumstances. Your client also agrees to waive the right to appeal the sentence in this case,
including but not limited to any term of imprisonment, fine, forfeiture, award of restitution, term
or condition of supervised release, authority of the Court to set conditions of release, and the
manner in which the sentence was determined, except to the extent the Court sentences your
client above the statutory maximum or guidelines range determined by the Court. In agreeing to
this waiver, your client is aware that your client’s sentence has yet to be determined by the
Court. Realizing the uncertainty in estimating what sentence the Court ultimately will impose,
your client knowingly and willingly waives your client’s right to appeal the sentence, to the
extent noted above, in exchange for the concessions made by the Government in this Agreement.
Notwithstanding the above agreement to waive the right to appeal the conviction and sentence,
your client retains the right to appeal on the basis of ineffective assistance of counsel, but not to
raise on appeal other issues regarding the conviction or sentence.

BE Collateral Attack
Your client also waives any right to challenge the conviction entered or sentence imposed

under this Agreement or otherwise attempt to modify or change the sentence or the manner in
which it was determined in any collateral attack, including, but not limited to, a motion brought

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under 28 U.S.C. § 2255 or Federal Rule of Civil Procedure 60(b), except to the extent such a
motion is based on newly discovered evidence or on a claim that your client received ineffective
assistance of counsel. Your client reserves the right to file a motion brought under 18 U.S.C,

§ 3582(c)(2).
F, Hearings by Video Teleconference and/or Teleconference

Your client agrees to consent, under the CARES Act, Section 15002(b)(4) and otherwise,
to hold any proceedings in this matter — specifically including but not limited to presentment,
initial appearance, plea hearing, and sentencing — by video teleconference and/or by
teleconference and to waive any rights to demand an in-person/in-Court hearing. Your client
further agrees to not challenge or contest any findings by the Court that it may properly proceed
by video teleconferencing and/or telephone conferencing in this case because, due to the
COVID-19 pandemic, an in-person/in-Court hearing cannot be conducted in person without
seriously jeopardizing public health and safety and that further there are specific reasons in this
case that any such hearing, including a plea or sentencing hearing, cannot be further delayed
without serious harin to the interests of justice. .

11. Use of Self-Incriminating Information

The Government and your client agree, in accordance with U.S.S.G. § 1B1.8, that the
Government will be free to use against your client for any purpose at the sentencing in this case
or in any related criminal or civil proceedings, any self-incriminating information provided by
your client pursuant to this Agreement or during the course of debriefings conducted 'in
anticipation of this Agreement, regardless of whether those debriefings were previously covered
by an “off the record” agreement by the parties.

12. Restitution

Your client understands that the Court has an obligation to determine whether, and in
what amount restitution applies in this case. Your client agrees to pay restitution pursuant to 18
U.S.C, § 3663(a)(3).

Your client acknowledges that the riot that occurred on January 6, 2021, caused as of
April 5, 2022, approximately $2,734,783.14 damage to the United States Capitol. Your'client
agrees as part of the plea in this matter to pay restitution to the Architect of the Capitol in the
amount of $2,000.

Payments of restitution shall be made to the Clerk of the Court. In order to facilitate the
collection of financial obligations to be imposed in connection with this prosecution, your client
agrees to disclose fully all assets in which your client has any interest or over which your client
exercises control, directly or indirectly, including those held by a spouse, nominee or other third
party. Your client agrees to submit a completed financial statement on a standard financial
disclosure form which has been provided to you with this Agreement to the Financial Litigation
Unit of the United States Attorney’s Office, as it directs. If you do not receive the disclosure
form, your client agrees to request one from usadc.ecfflu@usa.doj.gov. Your client will

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complete and electronically provide the standard financial disclosure form to
usadc.ecfflu@usa.doj.gov 30 days prior to your client’s sentencing. Your client agrees to be
contacted by the Financial Litigation Unit of the United States Attorney’s Office, through
defense counsel, to complete a financial statement. Upon review, if there are any follow-up
questions, your client agrees to cooperate with the Financial Litigation Unit. Your client
promises that the financial statement and disclosures will be complete, accurate and truthful, and
understands that any willful falsehood on the financial statement could be prosecuted as a
separate crime punishable under 18 U.S.C. § 1001, which carries an additional five years’

incarceration and a fine.

_ Your client expressly authorizes the United States Attorney’s Office to obtain a credit
report on your client in order to evaluate your client’s ability to satisfy any financial obligations
imposed by the Court or agreed to herein.

Your client understands and agrees that the restitution or fines imposed by the Court will
be due and payable immediately and subject to immediate enforcement by the United States. If
the Court imposes a schedule of payments, your client understands that the schedule of payments
is merely a minimum schedule of payments and will not be the only method, nor a limitation on
the methods, available to the United States to enforce the criminal judgment, including without
limitation by administrative offset. If your client is sentenced to a term of imprisonment by the
Court, your client agrees to participate in the Bureau of Prisons’ Inmate Financial Responsibility
Program, regardless of whether the Court specifically imposes a schedule of payments.

Your client certifies that your client has made no transfer of assets in contemplation of
this prosecution for the purpose of evading or defeating financial obligations that are created by
this Agreement and/or that may be imposed by the Court. In addition, your client promises to
make no such transfers in the future until your client has fulfilled the financial obligations under

this Agreement.

13, Breach of Agreement

Your client understands and agrees that, if after entering this Agrecment, your client fails
specifically to perform or to fulfill completely each and every one of your client’s obligations
under this Agreement, or engages in any criminal activity prior to sentencing, your client will
have breached this Agreement. In the event of such a breach: (a) the Government will be free
from its obligations under this Agreement; (b) your client will not have the right to withdraw the
guilty plea; (c) your client will be fully subject to criminal prosecution for any other crimes,
including perjury and obstruction of justice; and (d) the Government will be free to use against
your client, directly and indirectly, in any criminal or civil proceeding, all statements made by
your client and any of the information or materials provided by your client, including such
statements, information and materials provided pursuant to this Agreement or during the course
of any debriefings conducted in anticipation of, or after entry of, this Agreement, whether or not
the debriefings were previously characterized as “off-the-record” debriefings, and including your
client’s statements made during proceedings before the Court pursuant to Rule 11 of the Fedcral

Rules of Criminal Procedure.

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Your client understands and agrees that the Government shall be required to prove a
breach of this Agreement only by a preponderance of the evidence, except where such breach is
based on a violation of federal, state, or local criminal law, which the Government need prove
only by probable cause in order to establish a breach of this Agreement.

Nothing in this Agreement shall be construed to permit your client to commit perjury, to
make false statements or declarations, to obstruct justice, or to protect your client from
prosecution for any crimes not included within this Agreement or committed by your client after
the execution of this Agreement. Your client understands and agrees that the Government
reserves the right to prosecute your client for any such offenses. Your client further understands
that any perjury, false statements or declarations, or obstruction of justice relating to your client’s
obligations under this Agreement shall constitute a breach of this Agreement. In the event of
such a breach, your client will not be allowed to withdraw your client’s guilty plea.

14. Complete Agreement

No agreements, promises, understandings, or representations have been made by the
parties or their counsel other than those contained in writing herein, nor will any such
agreements, promises, understandings, or representations be made unless committed to writing
and signed by your client, defense counsel, and an Assistant United States Attorney for the
District of Columbia.

Your client further understands that this Agreement is binding only upon the Criminal
and Superior Court Divisions of the United States Attorney’s Office for the District of Columbia.
This Agreement does not bind the Civil Division of this Office or any other United States
Attorney’s Office, nor does it bind any other state, local, or federal prosecutor. It also does not
bar or compromise any civil, tax, or administrative claim pending or that may be made against
your client.

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If the foregoing terms and conditions are satisfactory, your client may so indicate by
signing this Agreement and the Statement of Offense, and returning both to me no later than

September 21, 2022.

By:

Sincerely yours,

//). A. Mea?

Matthew M. Graves

United States Attorney
“

 
 

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AL
Diane G. Lucas
Assistant United States Attorney

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DEFENDANT’S ACCEPTANCE

[have read every page of this Agreement and have discussed it with my attomey, Samuel
C. Moore. f fully understand this Agreement and agree to it without reservation. | do this
voluntarily and of my own free will, intending to be legally bound, No threats have been made
to me nor am I under the influence of anything that could impede my ability to understand this
Agrecment fully. Iam pleading guilty because I am in fact guilty of the offense(s) identified in
this Agreement.

[ reaffirm that absolutely no promises, agreements, understandings, or conditions have
been made or entered into in connection with my decision to plead guilty except those set forth
in this Agreement. I am satisfied with the legal services provided by my attomey in connection
with thts Agreement and matters related to it.

Date: & 2 SKA, ye —
Andrew Alan Herhandez
Defendant

ATTORNEY’S ACKNOWLEDGMENT

Ihave read every page of this Agreement, reviewed this Agreement with my client,
Andrew Alan Hemaridez, and fully discussed the provisions of this Agreement with my client.
These pages accurately and completely set forth the entire Agreement. I concur In my client’s
desire to plead guilty as set forth in this Agreement.

pate: 416 [9-090- Ca
‘ Samuel! C. Moore
Wy Attorney for Defendant

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